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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


        JASON LEOPOLD and BUZZFEED, INC.                       )
                             Plaintiff                         )
                                v.                             )      Case No.     1:19-cv-1279-TJK
           DEPARTMENT OF JUSTICE, et al.                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants, Department of Justice, et al.                                                                    .


Date:          10/20/2022                                                              /s/Courtney D. Enlow
                                                                                         Attorney’s signature


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